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                   12
                                                    UNITED STATES DISTRICT COURT
                   13
                                                 NORTHERN DISTRICT OF CALIFORNIA
                   14
                                                            OAKLAND DIVISION
                   15

                   16
                        In re Google RTB Consumer Privacy               Master File No. 4:21-cv-02155-YGR-VKD
                   17   Litigation,
                                                                        DECLARATION OF WHITTY SOMVICHIAN
                   18                                                   IN SUPPORT OF GOOGLE’S RESPONSE TO
                                                                        PLAINTIFFS’ ADMINISTRATIVE MOTION TO
                   19   This Document Relates to: all actions           CONSIDER WHETHER ANOTHER PARTY’S
                                                                        MATERIALS SHOULD BE SEALED (ECF NO.
                   20                                                   696)

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COOLEY LLP                                                                    DECL. OF W. SOMVICHIAN ISO GOOGLE’S
ATTORNEYS AT LAW                                                             RESPONSE TO PLAINTIFFS’ ADMIN. MOTION
 SAN FRANCISCO                                                                    CASE NO. 4:21-CV-02155-YGR-VKD
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                    1          I, Whitty Somvichian, declare as follows:
                    2          1.      I am an attorney at the law firm of Cooley LLP and an attorney of record for Google
                    3   in In re Google RTB Consumer Privacy Litigation, Case No. 4:21-cv-02155. I am licensed to
                    4   practice law in the state of California and am admitted to practice before this Court. I submit this
                    5   declaration in support of Google’s response to Plaintiffs’ Administrative Motion to Consider
                    6   Whether Another Party’s Materials Should be Sealed. I have personal knowledge of the facts
                    7   herein, and I am competent to testify. I submit this declaration pursuant to Local Rule 79‑5.
                    8          2.      On April 19, 2024, Plaintiffs filed an Administrative Motion to Consider Whether
                    9   Another Party’s Materials Should be Sealed (ECF No. 696) in connection with their Motion for
                   10   Contempt and Spoliation Sanctions Re Named Plaintiffs Data (“Plaintiffs’ Motion”) (ECF. No.
                   11   697), the Declaration of Jonathan K. Levine in support of Plaintiffs’ Motion (“Levine Declaration”)
                   12   (ECF No. 697-1), Exhibit A to the Levine Declaration (ECF No. 697-2), and the Proposed Order
                   13   Granting Plaintiffs’ Motion for Contempt and Spoliation Sanctions re Named Plaintiffs Data
                   14   (“Plaintiffs’ Proposed Order”) (ECF No. 697-3).
                   15          3.      I have reviewed the documents that Google seeks to file under seal. The highlighted
                   16   portions in these documents reflect highly confidential and sensitive information disclosed in this
                   17   matter. Based on my review and in consultation with my client, I understand that there is good
                   18   cause to seal the following information:
                   19
                                Document               Text to be Sealed                     Basis for Sealing
                   20
                         Plaintiffs’ Motion for      Portions highlighted at   I understand the information requested to be
                   21    Contempt and                PDF pages 2, 6-8, 10-     sealed contains Google’s highly confidential
                         Spoliation Sanctions Re     17, 19-20, 22             and proprietary information regarding highly
                   22    Named Plaintiffs Data
                         (“Plaintiffs’ Motion”)                                sensitive features of Google’s internal
                   23    (ECF No. 696-4)                                       systems      and     operations,     including
                                                                               mechanisms to protect user identifiers,
                   24                                                          references and details related to Google’s
                                                                               internal data systems, data infrastructure, and
                   25
                                                                               Google’s internal logs, as well as their
                   26                                                          proprietary functionalities and metrics, that
                                                                               Google maintains as confidential in the
                   27                                                          ordinary course of its business and that is not
                                                                               generally known to the public or Google’s
                   28
COOLEY LLP                                                                           DECL. OF W. SOMVICHIAN ISO GOOGLE’S
ATTORNEYS AT LAW                                                                    RESPONSE TO PLAINTIFFS’ ADMIN. MOTION
 SAN FRANCISCO                                                                           CASE NO. 4:21-CV-02155-YGR-VKD
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                        Case 4:21-cv-02155-YGR       Document 705-1       Filed 05/10/24     Page 3 of 5



                    1          Document              Text to be Sealed                  Basis for Sealing
                    2                                                     competitors. Additionally, I understand such
                                                                          confidential and proprietary information
                    3
                                                                          reveals Google’s internal strategies, system
                    4                                                     designs, and business practices for operating
                                                                          and maintaining many of its important
                    5                                                     services, and falls within the protected scope
                                                                          of the Protective Order entered in this action.
                    6                                                     See ECF No. 59 at 3. It is my understanding
                                                                          that public disclosure of such confidential and
                    7
                                                                          proprietary information may place Google at
                    8                                                     an increased risk of cybersecurity threats, as
                                                                          third parties may seek to use the information
                    9                                                     to compromise Google’s internal practices
                                                                          relating to these data logs and user data. I
                   10                                                     understand that bad actors may use this
                                                                          information to piece together previously
                   11
                                                                          unconnectable facts and to infer information
                   12                                                     about Google users that Google stores in those
                                                                          logs. I also understand that public disclosure
                   13                                                     of such confidential and proprietary
                                                                          information      could      affect   Google’s
                   14                                                     competitive standing as competitors may alter
                   15                                                     their systems and practices relating to
                                                                          competing products.
                   16    Levine Declaration        Portions highlighted atSee above.
                         (ECF No. 696-5)           PDF pages 2-5
                   17    Exhibit A to the          Portions highlighted at See above.
                         Levine Declaration        transcript pages 12:1-
                   18    (ECF No. 696-6)           3; 12:7-10; 12:20-
                                                   13:10; 13:12; 13:16-
                   19                              25; 15:1-6; 15:9-16;
                                                   89:4; 90:1-3; 223:4;
                   20                              223:8; 223:11; 223:12;
                                                   223:16-17; 223:23;
                   21                              224:2-3; 224:17;
                                                   224:24; 225:1; 225:4-
                   22                              5; 225:11; 225:14;
                                                   225:17-18; 225:23;
                   23                              225:24-25; 226:6;
                                                   226:8; 226:18; 226:22;
                   24                              237:9-10; 238:1;
                                                   238:6; 238:11;
                   25                              238:13-15
                         Plaintiffs’ Proposed      Portions highlighted at See above.
                   26    Order Granting            PDF pages 2-6
                         Plaintiffs’ Motion (ECF
                   27    No. 696-7)
                   28
COOLEY LLP
ATTORNEYS AT LAW                                                                 DECL. OF W. SOMVICHIAN ISO GOOGLE’S
 SAN FRANCISCO                                                    3             RESPONSE TO PLAINTIFFS’ ADMIN. MOTION
                                                                                     CASE NO. 4:21-CV-02155-YGR-VKD
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                    1          4.      Google does not seek to redact or file under seal any of the remaining portions of
                    2   the documents not indicated in the table above.
                    3          5.      To the best of my knowledge, the highlighted portions in the documents cited in the
                    4   table above contain references to and discussions of highly sensitive and proprietary information
                    5   regarding the technical details of Google’s internal logs and data systems, as well as descriptions
                    6   of its internal mechanisms related to the management and protection of user identifiers that Google
                    7   maintains as confidential in the ordinary course of its business and that are not generally known to
                    8   the public or Google’s competitors
                    9          6.      If this technical and proprietary information is publicly disclosed, I understand that
                   10   it will present serious risk of irreparable harm to Google, including cyber security risk, as third
                   11   parties may seek to use this information to compromise Google’s data sources, including data logs,
                   12   internal data structures, and internal identifier systems. Public disclosure of this information would
                   13   create a risk of cyber security threats and other risks as bad actors would have access to names of
                   14   Google’s logs or descriptions of particular data systems, and such access may make it easier for
                   15   bad actors to piece together previously unconnectable facts. Such bad actors could use the
                   16   information related to these confidential, internal data systems and data logs to infer additional
                   17   information about Google users that Google stores in those logs.
                   18          7.      I further understand that revealing this information publicly may reveal Google’s
                   19   internal strategies, system designs, and business practices for operating and maintaining many of
                   20   its important proprietary services thus jeopardizing Google’s competitive standing. In this way,
                   21   public disclosure of this information would harm Google’s competitive standing that it has earned
                   22   through years of innovation and careful deliberation.
                   23          8.      Attached hereto as Exhibit 1 is a copy of Plaintiffs’ Motion that highlights the
                   24   specific information that Google seeks to maintain under seal.
                   25          9.      Attached hereto as Exhibit 2 is a copy of the Levine Declaration, that highlights the
                   26   specific information that Google seeks to maintain under seal.
                   27          10.     Attached hereto as Exhibit 3 is a copy of the Exhibit A to the Levine Declaration
                   28   that highlights the specific information that Google seeks to maintain under seal.
COOLEY LLP
ATTORNEYS AT LAW                                                                       DECL. OF W. SOMVICHIAN ISO GOOGLE’S
 SAN FRANCISCO                                                        4               RESPONSE TO PLAINTIFFS’ ADMIN. MOTION
                                                                                           CASE NO. 4:21-CV-02155-YGR-VKD
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                    1          11.     Attached hereto as Exhibits 4 is a copy of Plaintiffs’ Proposed Order that highlights
                    2   the specific information that Google seeks to maintain under seal.
                    3

                    4          I declare under penalty of perjury that the foregoing is true and correct. Executed on May
                    5   10, 2024 at San Francisco, California.
                    6

                    7   Dated: May 10, 2024                               COOLEY LLP
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                    9                                                     By: /s/ Whitty Somvichian
                                                                              Whitty Somvichian
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COOLEY LLP
ATTORNEYS AT LAW                                                                     DECL. OF W. SOMVICHIAN ISO GOOGLE’S
 SAN FRANCISCO                                                       5              RESPONSE TO PLAINTIFFS’ ADMIN. MOTION
                                                                                         CASE NO. 4:21-CV-02155-YGR-VKD
